  Case: 5:18-cv-00458-DCR Doc #: 22 Filed: 05/15/19 Page: 1 of 1 - Page ID#: 554
                                                                                 Eastern District of K
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                                                                                     MAY 15 2019
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY                              AT LEXINGTON
                                  CENTRAL DIVISION                               CLt:Rl8iE~is~
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                                                                                              RICTcouRT
                                     ( at Lexington)

  UNITED STATES OF AMERICA,                       )
                                                  )
            Plaintiff,                            )       Civil Action No. 5: 18-458-DCR
                                                  )
  v.                                              )
                                                  )
  WILLARD C. RANKIN, et al.,                      )                 ORDER
                                                  )
            Defendants.                           )

                                      *** *** *** ***
       Attorney Joyce A. Merritt has been appointed to serve as warning order attorney for

Defendant Unknown Heirs and Unknown Spouses of Unknown Heirs of Helen M. Rankin and

has filed her report. [Record No. 21] Being sufficiently advised, it is hereby

       ORDERED as follows:

       1.        The Warning Order Report is hereby ACCEPTED, and Attorney Merritt's

motion for an award of fees [Record No. 21] is GRANTED.

       2.        Attorney Merritt is relieved of any further duties as warning order attorney in

this action. It is further ORDERED that she be allowed an attorney fee of $200.00 and costs

in the amount of $129.30.

       Dated: May 15, 2019.




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